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UNITED STATES DISTRICT COURT
DISTRICT OF MINNESOTA
Criminal No. 24-133 (JWB/DTS)
UNITED STATES OF AMERICA,
Plaintiff, PLEA AGREEMENT AND
SENTENCING
Vv. STIPULATIONS

DESHAWN MARCHELLO MCKIZZIE,
a/k/a “Chelio,”

Defendant.

The United States of America and the defendant, Deshawn Marchello
McKizzie, agree to resolve this case on the terms and conditions that follow.
This plea agreement binds only the defendant and the United States Attorney’s
Office for the District of Minnesota (“the United States” or “the Government’).
This agreement does not bind any other United States Attorney’s Office or any
other federal or state agency.

1. Charges. The defendant agrees to plead guilty to Count 3 of the
Indictment, which charges the defendant with Trafficking in Firearms, in
violation of 18 U.S.C. § 938(a)(1). The defendant fully understands the nature
and elements of the crime with which he has been charged.

Upon imposition of sentence, if there are remaining counts, the
government agrees to move to dismiss those remaining charges against the

defendant contained in the Indictment.

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2. Factual Basis. The defendant is pleading guilty because he is in
fact guilty of Count 3 of the Indictment. In pleading guilty, the defendant
admits the following facts and that those facts establish his guilt beyond a
reasonable doubt and constitute relevant conduct pursuant to the United
States Sentencing Guidelines:

Between December 2028 and March 2024, Mr. McKizzie transported and
transferred firearms to other individuals, knowing or reasonably believing that
the recipients’ receipt of the firearms would constitute a felony.

In late 2028, Mr. McKizzie was introduced to an individual who was
lawfully permitted to purchase firearms. Mr. McKizzie, who was himseif
prohibited from purchasing firearms, entered into an agreement with that
individual to purchase firearms on Mr. McKizzie’s behalf. Mr. McKizzie, in.
turn, sold those firearms to other individuals who he knew or reasonably
believed were previously convicted of a crime punishable by imprisonment by
a term exceeding one year and intended to use the firearms in furtherance of,
among other felonies, drug trafficking offenses.

On April 16, 2024, law enforcement executed a search warrant at a place
where Mr, McKizzie was known to stay-—-3811 Minnehaha Avenue in
Minneapolis, Minnesota. Inside the home, law enforcement found various

firearms parts as well as two pistol boxes for firearms acquired through the

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individual referenced above: a Glock 22 .40 bearing serial number AFSX207
and a Smith and Wesson M&P 5.7 28mm bearing serial number PJU9856.

In total, between December 2028 and March 2024, Mr. McKizzie
acquired and then transferred and transported approximately 15 firearms; the
firearms were in, or otherwise affected, interstate or foreign commerce; and
Mr. McKizzie knew or reasonably believed that the recipients’ use, carrying, or
possession of the firearms constituted a felony. The defendant stipulates that
he acted voluntarily, and that he knew his actions violated the law.

3. Waiver of Pretrial Motions. The defendant understands and
agrees that the defendant has certain rights to file pre-trial motions. As part
of this plea agreement, and based upon the concessions of the United States
within this plea agreement, the defendant knowingly, willingly, and
voluntarily gives up the right to have any pending motions resolved and to file
any additional pre-trial motions in this case. The defendant agrees that, by
pleading guilty, he is withdrawing any motions previously filed.

4, Waiver of Constitutional Trial Rights. The defendant
understands that he has the right to go to trial. At trial, the defendant would
be presumed innocent, have the right to trial by jury or, with the consent of the
United States and of the Court, to trial by the Court, the right to the assistance
of counsel, the right to confront and cross-examine adverse witnesses, the right

to subpoena witnesses to testify for the defense, the right to testify and present

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evidence, and the right to be protected from compelled self-incrimination. The
defendant understands that he has the right to an attorney at every stage of
these proceedings and, if necessary, one will be appointed to represent him.
The defendant understands that he has the right to persist in a plea of not
guilty and, if he does so, he would have the right to a public and speedy trial.
By pleading guilty, the defendant knowingly, willingly, and voluntarily waives
each of these trial rights, except the right to counsel. The defendant
understands that a guilty plea is a complete and final admission of guilt and,
if the Court accepts the guilty plea, the Court will adjudge the defendant guilty
without a trial.

5. Additional Consequences. The defendant understands that as
a result of this conviction, the defendant could experience additional collateral
consequences, such as the loss of the right to carry firearms, the right to vote,
and the right to hold public office. If the defendant is not a United States
citizen, as a result of a plea of guilty, the defendant may be removed from the
United States, denied citizenship, and denied admission to the United States
in the future, The defendant has discussed with his attorney the punishments
and consequences of pleading guilty, understands that not all of the
consequences can be predicted or foreseen, and still wants to plead guilty in

this case.

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6. Statutory Penalties. The defendant understands that Count 3
of the Indictment, charging Trafficking in Firearms, in violation of 18 U.S.C.

§ 938(a)(1), is a felony offense that carries the following statutory penalties:

a. a maximum of 15 years in prison;
b. a maximum term of supervised release term of three years;
c. a maximum fine of $250,000; and

d, a mandatory special assessment of $100 under 18 U.S.C.
§ 3018(a)(2)(A).

7. Guidelines Calculations. The parties acknowledge that the
defendant will be sentenced in accordance with 18 U.S.C. § 8551, et seq.
Nothing in this plea agreement should be construed to limit the parties from
presenting any and all relevant evidence to the Court at sentencing. The
parties also acknowledge that the Court will consider the United States
Sentencing Guidelines in determining the appropriate sentence. The parties
stipulate to the following guidelines calculations:

a. Base Offense Level. The parties agree that the base offense
level is 14. U.S.S.G. § 2K2.1(a)(6).

b. Specific Offense Characteristics. The parties agree that the
offense level should be increased by four levels because the
offense involved more than eight (8) but less than 24
firearms. U.S.8.G. § 2K2.1(b)(1)(B).

The parties also agree that the offense level should be
further increased by two levels because the defendant
purchased and then transferred or sold firearms knowing or
having reason to believe that such conduct would result in

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the receipt of the firearms by an individual who is a
prohibited person. U.S.8.G. § 2K2.1(b)(5)(B).

C. Chapter 3 Adjustments. The parties agree that, other than
acceptance of responsibility, no Chapter 3 adjustments

apply.

d. Acceptance of Responsibility. The government agrees to
recommend that the defendant receive a_ two-level
reduction for acceptance of responsibility pursuant to
U.S.S.G. § 3E1.1(a). As the defendant has timely notified
the government of the defendant’s intention to enter a plea
of guilty, the government agrees to recommend that the
defendant receive an additional one-level reduction
pursuant to U.S.S.G. § 8E1.1(b). Whether these reductions
will be imposed shall be determined by the Court in its
discretion. However, the defendant understands and agrees
that the government's recommendations are conditioned
upon the following: (1) the defendant testifies truthfully
during the change of plea and sentencing hearings; (2) the
defendant provides full, complete and truthful information
to the United States Probation Office in the pre-sentence
investigation; and (8) the defendant engages in no conduct
inconsistent with acceptance of responsibility before the
time of sentencing.

Nothing in this agreement limits the right of the
government, pursuant to U.S.8.G. § 3E1.1 and/or § 8C1.1 to
seek denial of a reduction for acceptance of responsibility or
an adjustment for obstruction of justice should the defendant
engage in any conduct inconsistent with acceptance of
responsibility.

a. Criminal History Category. The parties believe that, at the
time of sentencing, the defendant will fall into Criminal
History Category III. U.8.8.G. §4A1.1. This does not
constitute a stipulation, but a belief based on an assessment
of the information currently known. The defendant’s actual
criminal history and related status will be determined by the
Court based on the information presented in the Presentence
Report and by the parties at the time of sentencing. The

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defendant understands that if the presentence investigation
reveals any prior adult or juvenile sentence which should be
included within his criminal history under the U.S.
Sentencing Guidelines, the defendant will be sentenced
based on his true criminal history category, and he will not

be permitted to withdraw from this Plea Agreement.
US.S.G. § 4AL.1.

f. Guidelines Range. If the adjusted offense level is 17, and the
criminal history category is ITI, the Sentencing Guidelines
range is 30 to 37 months of imprisonment.

2. Fine Range. If the adjusted offense level is 17, the
Sentencing Guidelines fine range is $10,000 to $95,000.
U.S.S.G. § 5E1.2(c).

h, Supervised Release. The Sentencing Guidelines’ term of
supervised release is one year to three years. U.S.S.G, §

§D1.2.
8. Revocation of Supervised Release. The defendant

understands that if the defendant were to violate any supervised release
condition while on supervised release, the Court could revoke the defendant’s
supervised release, and the defendant could be sentenced to an additional term
of imprisonment up to the statutory maximum set forth in 18 U.S.C. §
3588(e)(8). See U.S.5.G. §§ 7B1.4, 7B1.5. The defendant also understands that
as part of any revocation, the Court may include a requirement that the
defendant be placed on an additional term of supervised release after
imprisonment, as set forth in 18 U.S.C. § 85838¢(h).

9. Discretion of the Court. The foregoing stipulations are binding

on the parties, but do not bind the Court. The parties understand that the

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Sentencing Guidelines are advisory and that their application is a matter that
falls solely within the Court’s discretion. The Court will make its own
determination regarding the applicable Guidelines factors and the applicable
criminal history category. The Court may also vary and/or depart from the
applicable Guidelines range. If the Court determines that the applicable
guideline calculations or the defendant’s criminal history category is different
from that stated above, the parties may not withdraw from this agreement,
and the defendant will be sentenced pursuant to the Court’s determinations.

10. Agreements as to Sentencing Recommendation. The parties
are free to recommend whatever sentence they deem appropriate. The parties
reserve the right to make motions for departures under the Sentencing
Guidelines or for variances pursuant to 18 U.S.C. § 3553(a) and to oppose any
such motions made by the opposing party. If the Court does not accept the
sentencing recommendation of the parties, the defendant will have no right to
withdraw his guilty plea.

11. Special Assessment. The Guidelines require payment of a
special assessment in the amount of $100 for each felony count of which the
defendant is convicted, pursuant to U.S.8.G. § 5E1.3. The defendant agrees to
pay the special assessment.

12. Disclosure of Assets. The defendant will fully and completely

disclose to the United States Attorney’s Office the existence and location of any

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assets in which the defendant has any right, title, or interest, or over which
the defendant exercises control, directly or indirectly, including those assets
held by a spouse, nominee or other third party, or any business owned or
controlled by the defendant. The defendant agrees to assist the United States
in identifying, locating, returning, and transferring assets for use In payment
of restitution, fines, and forfeiture ordered by the Court. The defendant agrees
to complete a financial statement within two weeks of the entry of his guilty
plea. The defendant further agrees to execute any releases that may be
necessary for the United States to obtain information concerning the
defendant's assets and expressly authorizes the United States to obtain a
credit report on the defendant to evaluate the defendant's ability to satisfy
financial obligations imposed by the Court. If requested by the United States,
the defendant agrees to submit to one or more asset interviews or depositions
under oath.

13. Forfeiture. The defendant agrees to forfeit to the United States,
pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(0), the firearms and
associated accessories and ammunition he purchased with the assistance of the
co-conspirator discussed in paragraph two, including but not limited to the
Glock Model 22 .40 bearing serial number AFSX207 and the Smith and Wesson

Model M&P 5.7 28mm bearing serial number PJU9856, as well as all firearms

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parts seized on April 16, 2024, from 3811 Minnehaha Avenue, Minneapolis,
Minnesota.

14. Waivers of Appeal and Collateral Attack. The defendant
hereby waives the right to appeal any non-jurisdictional issues. This appeal
waiver includes but is not limited to the defendant’s waiver of the right to
appeal guilt or innocence, any issues relating to the change-of-plea
proceedings, the sentence imposed, the Guidelines calculations, any restitution
obligations, and the constitutionality of the statutes to which the defendant is
pleading guilty. The parties agree, however, that excluded from this waiver is
an appeal by defendant of the substantive reasonableness of a term of
imprisonment above 87 months’ imprisonment.

The defendant also waives the right to collaterally attack his conviction
and sentence under 28 U.S.C. § 2255 except based upon a claim of ineffective
assistance of counsel. This collateral-review waiver does not operate to waive
a collateral challenge under 28 U.S.C. § 2255 based on new legal principles
enunciated in Supreme Court case law decided after the date of this Plea
Agreement that are both substantive and have retroactive effect. For purposes
of this provision, legal principles that are substantive and retroactive are those
that narrow the reach of the offense of conviction and render the defendant’s

conduct non-criminal or that render the sentence imposed illegal.

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The defendant has discussed these rights with the defendant’s attorney.
The defendant understands the rights being waived, and the defendant waives
these rights knowingly, intelligently, and voluntarily.

The United States agrees to waive its right to appeal any sentence except
the government may appeal the substantive reasonableness of a term of
imprisonment below 30 months’ imprisonment.

15. FOIA Requests. The defendant waives all rights to obtain,
directly or through others, information about the investigation and prosecution
of this case under the Freedom of Information Act and the Privacy Act of 1974,
5 U.S.C. §§ 552, 552A.

16. Complete Agreement. This, along with any agreement signed
by the parties before entry of plea, is the entire agreement and understanding
_ between the United States and the defendant. By signing this plea agreement,
the defendant acknowledges: (a) that the defendant has read the entire
agreement and has reviewed every part of it with the defendant's counsel; (b)
that the defendant fully understands this plea agreement; (c) that no promises,
agreements, understandings, or conditions have been made or entered into in
connection with his decision to plead guilty, except those set forth in this plea
agreement; (d) that the defendant is satisfied with the legal services and
representation provided by defense counsel in connection with this plea

agreement and matters related to it; (e) that the defendant has entered into

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this plea agreement freely, voluntarily, and knowingly; and (f) that the

defendant’s decision to plead guilty in accord with the terms and conditions of

this plea agreement is made of the defendant’s own free will.

Date: | frz/z4

Date: ULL ay

Date: W/o iw

BY:

ANDREW M., LUGER
United States Attorney

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Garrett S. Fields
Assistant United States Attorney

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Deshawn Mar chello McKizzio.
Defendant

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Charles F, Clippert ~
Counsel for Defendant

